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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION



LA ROSA FRANCHISING, LLC and
LA ROSA REALTY, LLC,                                       CASE NO: 6:21-CV-01660-ACC-DCI

                  Plaintiffs,
             v.

ANA IVELISSE MORALES and
LA ROSA REALTY PUERTO RICO, PSC,

                  Defendants.

________________________________/



                      PLAINTIFFS’ MOTION FOR EXTENSION OF TIME
                          TO COMPLETE SERVICE OF PROCESS

        The Plaintiffs, by and through their undersigned counsel and pursuant to Rules 4 and 6 of

the Federal Rules of Civil Procedure, hereby file their Motion requesting an additional thirty (30)

day extension of time within which to serve process upon the Defendants, and show the Court

that:

        1.        The Court graciously granted Plaintiff’s prior Motions for Extension of Time to

Complete Service of Process providing the Plaintiffs up to an including April 22, 2022 to

complete service of process.

        2.        The Plaintiffs have continued in substantial activities to serve personal process

upon the Defendants both in this District and in Puerto Rico where the Defendants are also

expected to be found to no avail.
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       3.      Plaintiffs submitted a formal request to the Secretary of State for alternative

service of process upon the Defendants and expect that acceptance of the same will be received

shortly.

       4.      Defendants are concealing their whereabouts and avoiding service of process.

Additional time is needed in good faith for the Plaintiffs to receive acceptance of alternative

service of process and to file an Affidavit of Compliance and Motion for Approval of Substitute

Service with the Court.

       5.       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, when an act may

or must be done within a specified time, the court may, for good cause, extend the time if a

request is made before the original time.

       6.       This Motion is made before the original time to complete the acts required. Good

cause exists to grant this Motion based upon the good faith efforts of the Plaintiffs and the time

reasonably necessary to comply with Rule 4 of the Federal Rules of Civil Procedure and achieve

and prove valid alternative service. Plaintiffs are in communication with the Secretary of State

and expect to receive acceptance of alternative service soon. Upon receipt of the same, Plaintiffs

will forthwith file their Affidavit of Compliance and the required Motion for Approval of

Substitute Service of Process.

       7.      Accordingly, Plaintiffs respectfully request an additional thirty (30) days to

complete this process.
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                                        DATED this 18th day of April 2022.


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                                        Orlando, Florida 32819
                                        Attorney for Plaintiffs

                                        By:     /s/ Vincent B. Lynch
                                                Vincent B. Lynch



                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 18, 2022, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system, which will send a notice of electronic filing to all
registered users and that a copy of which was mailed to the last known addresses of the
Defendants.

                                        By:     /s/ Vincent B. Lynch
                                                Vincent B. Lynch
